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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION
TRACY CAEKAERT, and CAMILLIA ) Cause No. CV 20-52-BLG-SPW
                             )
MAPLEY,                      )
                             ) DEFENDANT WATCHTOWER
          Plaintiffs,        ) BIBLE AND TRACT SOCIETY OF
                             ) NEW YORK, INC.’S BRIEF IN
                             )
      vs.                    ) SUPPORT OF MOTION FOR
                             ) ORDER DIRECTING RULE 35,
WATCHTOWER BIBLE AND         ) FED. R. CIV. P., EXAMS
                             )
TRACT SOCIETY OF NEW YORK, )
INC., WATCH TOWER BIBLE AND )
TRACT SOCIETY OF             )
                             )
PENNSYLVANIA, and BRUCE      )
MAPLEY SR.,                  )
                             )
                             )
          Defendants.        )
                             )
                             )
                             )
                             )
                             )
                             )

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WATCHTOWER BIBLE AND            )
                                )
TRACT SOCIETY OF NEW YORK,      )
INC.                            )
                                )
         Cross-Claimant,        )
                                )
                                )
vs.                             )
                                )
                                )
BRUCE MAPLEY SR.,               )
                                )
         Cross-Claim Defendant. )
                                )
                                )




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        COMES NOW, Defendant Watchtower Bible and Tract Society of New

York, Inc. (“WTNY”), by and through its attorneys of record, and respectfully

submits its Brief in Support of Motion for an Order Directing Rule 35, Fed. R. Civ.

P., mental examinations of the Plaintiffs Tracy Caekaert and Camillia Mapley by

Michael Bütz, Ph.D.

                                          INTRODUCTION

        WTNY has requested that Plaintiffs Tracy Caekaert and Camillia Mapley

submit to Rule 35, Fed. R. Civ. P., mental examinations with Michael Bütz, Ph.D.

WTNY expects Dr. Bütz will assist the triers of fact in determining the existence,

nature, and extent of the psychological conditions Plaintiffs have placed at issue in

this case by claiming injuries and damages secondary to various instances of alleged

childhood sexual abuse.

        Months of conferral about the scope and conditions of the Rule 35 exams have

culminated in two competing proposed Memoranda of Agreement: WTNY’s August

16,    2023      Memorandum             of    Agreement          (hereafter      “WTNY’s            Proposed

Memorandum”),1 and Plaintiffs’ August 30,, 2023, Memorandum of Understanding

(hereafter “Plaintiffs’ Proposed Memorandum”).2 As a threshold matter, the parties



1
  Ex. 1, attached hereto. WTNY’s counsel provided the Proposed Memorandum to Plaintiffs’ counsel via email on
August 17, 2023.
2
  Ex. 2, attached hereto.

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agree Dr. Bütz is a suitably licensed and certified examiner to conduct the subject

mental examinations. The parties further stipulate that there is “good cause” within

the meaning of Rule 35(a)(2)(A), Fed. R. Civ. P., for the subject mental

examinations to occur.

        However, the parties disagree significantly with respect to certain aspects of

the “time, place, manner, conditions, and scope” of the proposed examinations

pursuant to Fed. R. Civ. P. 35(a)(2)(B). It is on these matters that WTNY requests

the assistance of the Court.3

                                               STANDARD

        Rule 35, Fed. R. Civ. P., provides as follows concerning an Order for An

Examination:

        (1) In General. The court where the action is pending may order a party
        whose mental or physical condition—including blood group—is in
        controversy to submit to a physical or mental examination by a suitably
        licensed or certified examiner. The court has the same authority to order
        a party to produce for examination a person who is in its custody or
        under its legal control.

        (2) Motion and Notice; Contents of the Order. The order:

                 (A) may be made only on motion for good cause and on notice
                 to all parties and the person to be examined; and
                 (B) must specify the time, place, manner, conditions, and scope
                 of the examination, as well as the person or persons who will
                 perform it.


3
  The parties have further agreed the subject mental examinations may be scheduled and proceed while they seek
resolution of their disagreements from the Court. See Ex. 2, p. 3.

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                                     BACKGROUND

   Counsel for WTNY first requested Plaintiffs’ mental examinations by Dr. Bütz

on April 10, 2023. See Ex. 3. The request included copies of Dr. Bütz’s CV and

specialized training in the areas of clinical neuropsychology, developmental

disabilities, and forensic psychology.

      In their response letter dated April 20, 2023, see Ex. 4, Plaintiffs’ counsel

raised issues concerning “manner, conditions, and scope of the examination[s].” The

letter also raised concerns about travel and costs pertaining to Camillia Mapley, who

lives in Mansfield, VIC, Australia, and Tracy Caekaert, who lives in Searcy,

Arkansas.

      Counsel for WTNY responded on April 26, 2023, see Ex. 5, and included a

detailed response drafted by Dr. Bütz containing his proposed scope of the subject

mental examinations. WTNY offered the concession that Dr. Bütz would consider

traveling to Australia and Arkansas assuming Plaintiffs would cover his travel costs.

      For the first time on May 4, 2023, see Ex. 6, Plaintiffs signaled their intention

to dictate the technical aspects of Dr. Bütz’s examinations. They requested Dr. Bütz

delineate the time needed for each of the examinations, whether each exam would

be completed in one day, ensuring adequate rest for the examinees, and even sought

to limit the kinds of questions Dr. Bütz could ask during the examinations.




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        Dr. Bütz and Counsel for WTNY attempted to accommodate some of these

requests. See Ex. 7 (June 1, 2023, letter from counsel enclosing May 25, 2023, letter

from Dr. Bütz). However, they suggested a flexible approach that deferred to Dr.

Bütz’s clinical expertise in most respects.

        By email dated June 23, 2023, counsel for WTNY sent Plaintiffs’ counsel a

proposed Memorandum of Agreement regarding the Rule 35 Exams, which had

already been workshopped with Dr. Bütz, along with studies by Kaufmann and

Morel supporting Dr. Bütz’s position on the sharing of test raw data, and an A-V

Recording Agreement. See Ex. 8.4 Later that day, counsel for WTNY forwarded by

email     Dr.    Bütz’s     Authorization         for     Forensic       Consultation/Psychological

Assessment: Informed Consent & Fee Agreement (“Dr. Bütz’s Authorization”),

along with Client Preparation for Psychological Assessment Disclosure. See Ex. 9.

Dr. Bütz’s Authorization, in pertinent part, addresses his ethical obligations as a

psychologist regarding the handling of test raw data, and, specifically, that it will

only be disclosed per those ethical rules and to appropriately qualified experts.

        By letter dated June 30, 2023, see Ex. 10, Plaintiffs’ counsel continued to

disagree regarding the scope and parameters of the proposed exam. Plaintiffs

attached a draft of a memorandum (“Plaintiffs’ Draft Memorandum”) to this letter.5



4
  WTNY’s original proposed Memorandum of Agreement Regarding Independent Medical Examinations in Pending
Causes is the final attachment to this June 23, 2023 email.
5
  Plaintiffs’ Draft Memorandum is included in the attached Ex. 10.

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Dr. Bütz can accommodate a few of Plaintiffs’ requests in this letter (i.e., Paragraph

Nos. 3, 4, and 5 of Plaintiffs’ Draft Memorandum). However, several other of their

requests are unreasonable and presented an intractable problem: they demand Dr.

Bütz agree to release his test raw data to Plaintiffs’ counsel and their experts, and

also want an agreement that Plaintiffs’ counsel can be present during the exam,

and/or that any voluntary disclosure of privileged information by Plaintiffs will not

constitute a waiver. See Ex. 10, p. 2; Plaintiffs’ Draft Memorandum, p. 2.

      On July 27, 2023, counsel for WTNY responded to the June 30, 2023 letter,

informing Plaintiffs’ counsel that many conditions in their Draft Memorandum are

contrary not only to the law, but ethics rules governing Dr. Bütz’s practice. See Ex.

11. WTNY’s counsel also provided a letter from Dr. Bütz, and other documents,

explaining the ethical violations entailed by Plaintiffs’ counsel’s proposed

conditions for the examinations, and asked whether the parties have any additional

areas of agreement before WTNY filed the instant Motion. See id., p. 2.

      Plaintiffs’ counsel responded on July 28, 2023, and advised they were in

agreement with WTNY’s counsel and Dr. Bütz in re the latter’s proposed language

for Paragraph 6 of Plaintiffs’ Draft Memorandum regarding the scope of the

examinations. See Ex. 12, p. 1. They further agreed time stamping the audio

recording of the examinations would not be necessary. Id. However, they continued

to dispute Dr. Butz’s request for in-transit travel costs to Arkansas and Australia for


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the examination of Ms. Caekaert and Ms. Mapley, respectively, and insisted all costs

could be avoided by conducting the examination via video conference. Id. Plaintiffs’

counsel asked whether Dr. Bütz would agree to provide test raw data to counsel and

Plaintiffs’ retained psychologist and psychiatrist, and continued to press for a waiver

of any waiver of attorney-client privilege. Id.

      On July 31, 2023, WTNY’s counsel e-mailed Plaintiffs’ counsel to schedule

a telephone call to discuss the aforementioned July 28, 2023 letter. See Ex. 13.

Counsel conferred on a phone call on July 31, 2023. See Ex. 14

      Following the telephone call, Plaintiffs’ counsel emailed WTNY’s counsel

and stated “so long as Dr. Bütz agrees to provide the raw test data to our experts

(Bone and Holmberg) we are good not requiring disclosure to Plaintiffs’ counsel.”

Ex. 15, p. 2.

      On August 1, 2023, WTNY’s counsel emailed Plaintiffs’ counsel and

proposed a solution to the disagreement about Dr. Bütz’s travel costs: WTNY would

offer to cover upgrades to business class airfare if Plaintiffs covered the cost of seats

in economy and the Dr.’s in-transit travel time. See Ex. 15, p. 1.

      WTNY’s counsel sent an email on August 7, 2023, advising Plaintiffs’

counsel that Dr. Bütz agreed to release the test raw data to Plaintiffs’ expert, Dr.

Bone, but not to Dr. Holmberg as there is no documentation showing the latter has

experience conducting psychological assessments. See Ex. 16. This email also


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explained Dr. Bütz’s requirement that his time-in-transit travel costs, limited to an

8-hour day, be paid.

           In an August 8, 2023 letter and email, Plaintiffs’ counsel agreed to Dr. Bütz’s

position that the test raw data be shared only with Dr. Bone, on the condition that

Dr. Bütz’s report “include a data sheet that identifies the tests given, with a

corresponding score and T score/percentile rank for each such test.” Ex. 17, p. 1.6

Plaintiffs’ counsel also insisted on language allowing counsel and expert

psychiatrist, Dr. Holmberg, “to discuss and reference the raw testing data provided

to Dr. Bone for the purpose of this litigation.” Id. Regarding Dr. Bütz’s travel

costs to Australia for Ms. Mapley’s examination, however, Plaintiffs’ counsel

insisted the “most reasonable solution is to conduct her exam and testing

remotely[.]” Id., pp. 1-2. Plaintiffs’ counsel simultaneously acknowledged the

reasons for conducting the exam in-person, while questioning whether the benefit

justifies the cost of doing so. Id.

           WTNY’s counsel emailed Plaintiffs’ counsel on August 9, 2023, and

suggested the parties leave their dispute about travel costs for the Judge to decide,

while putting a final Memorandum of Agreement in place regarding those issues for

which the parties have found agreement. See Ex. 18.




6
    The August 8, 2023 email is contained in Ex. 17, following Plaintiffs’ counsel’s August 8, 2023 letter.

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      On August 14, 2023, WTNY’s counsel emailed Plaintiffs’ counsel to provide

Dr. Bütz’s response to Plaintiffs’ latest proposals, including language regarding the

sharing of test raw data. See Ex. 19. As Dr. Bütz aptly pointed out, Plaintiffs’

proposed language regarding the sharing of test raw data was a kind of bait-and-

switch: it seemed to agree the data would only be shared with the duly qualified Dr.

Bone, but then continued with a provision that would give Plaintiffs’ counsel, and

the unqualified Dr. Holmberg, access to this data—despite Plaintiffs’ counsel’s

earlier representation that they would be willing to accept Dr. Bütz’s position that

only qualified experts, like Dr. Bone, would have access. Id. WTNY’s counsel

further proposed language for a Memorandum of Agreement that would incorporate

Dr. Bütz’s authorization form, which in turn sets forth his long-held policy regarding

the handling of test raw data in compliance with applicable ethics rules. Id.

      On August 15th, 2023, counsel exchanged emails with a limited agreement:

disagreement remained in re Plaintiffs’ counsel’s insistence that attorney-client

privilege could not be waived, and their contention that psychological test raw data

can be shared in contravention of the ethical rules governing Dr. Bütz. See Ex. 20.

WTNY’s counsel then stated a Memorandum of Agreement would be circulated

reflecting the areas of agreement.

      WTNY’s counsel provided to Plaintiffs’ counsel, by email dated August 17,

2023, its Proposed Memorandum. See Ex. 21 (email); see also Ex. 1 (WTNY’s


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Proposed Memorandum). WTNY’s Proposed Memorandum set forth several

paragraphs of agreement, and several paragraphs of disagreement between the

parties. See Ex. 1, pp. 1-5. In sum, the parties appear to agree to the following: (1)

the time and place of the mental examinations for Tracy Caekaert and Camillia

Mapley; (2) that the manner, conditions, and scope of the exams are set forth in Dr.

Bütz’s letters dated April 25, 2023, and May 26, 2023, and that, generally, the scope

of examination will be to determine the existence, nature, and extent of

psychological conditions Plaintiffs have placed at issue; (3) Dr. Bütz will provide

Plaintiffs’ counsel the name(s) and version(s) of tests given, as well as the time each

test will have started and stopped, and the duration of any breaks in testing, but that

any recordings of the exams will not be time stamped; (4) the exams will be audio

recorded from the moment an examinee begins interacting with Dr. Bütz until the

conclusion of both the history and mental status interview portions of the exams, but

not of any testing portions; (5) no party will be allowed to have a representative

attend the examinations; and (6) expert reports generated by Dr. Bütz will be

automatically subject to the Stipulated Protective Order (Doc. 110-1).

      Between August 21st through August 23, 2023, counsel exchanged emails

regarding, inter alia, a dispute about Dr. Bütz’s Authorization. See Ex. 22. Plaintiffs’

counsel emailed WTNY’s counsel to have a phone call. Id., p. 7. Plaintiffs’ counsel

sent an email, dated August 23, 2023, with Plaintiffs’ counsel’s summation of the


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parties’ areas of agreement and disagreement. See Ex. 22, p. 1. On August 24th,

through August 25, 2023, counsel continued a discussion about the Authorization,

and how concerns about it could be alleviated by modifications to any Memorandum

of Agreement. See Ex. 23.

           On August 30, 2023, Plaintiffs’ counsel emailed Plaintiffs’ Proposed

Memorandum. See Ex. 2.7 Plaintiffs’ Proposed Memorandum presents several

significant issues, including limiting language that would override Dr. Bütz’s

Authorization Form. See Ex. 2, p. 1. Comparing Plaintiffs’ Proposed Memorandum

with WTNY’s, the following areas of disagreement require resolution from the

Court:

           (1) whether Plaintiffs should either have to (a) travel to the forum they chose

           for this action for purposes of their Rule 35 examinations; (b) pay for all of

           Dr. Bütz’s associated costs for having to travel to them; or (c) conduct the

           exams remotely.

           (2) the handling of test raw data: Defendants and Dr. Bütz contend test raw

           data should be handled in accordance with applicable ethics rules and

           practices, and be provided only to and, interpreted only by, experts duly

           qualified in conducting psychological assessments, which includes, at this

           time, only Dr. Bütz himself and Plaintiffs’ expert, Dr. Bone. Plaintiffs


7
    The August 30, 2023 email is on the final page of Ex. 2.

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        contend, on the other hand, that Dr. Bütz should violate applicable ethics rules

        by disclosing the test raw data to unqualified individuals, including Plaintiffs’

        counsel and expert psychiatrist, Dr. Holmberg.

        (3) potential waiver of attorney-client privilege: Defendants and Dr. Bütz have

        agreed the latter will not ask any questions soliciting attorney-client privileged

        material, but that the parties should be allowed to reserve their right to argue

        for or against waiver of attorney-client privilege, respectively, in the event

        Plaintiffs voluntarily disclose such information; further, Defendants contend

        Rule 502(b), Fed. R. Evid., shall govern in the event of an inadvertent

        disclosure of attorney-client privileged information. Plaintiffs, on the other

        hand, have insisted on an ex ante facto agreement that there can be no waiver

        of attorney-client privilege.

        Despite the expenditure of significant time and resources by WTNY’s counsel

and Dr. Bütz, the parties continue to dispute the above summarized issues. See Exs.

24-26. 8 WTNY respectfully requests the Court grant the instant Motion for the

reasons stated herein.


8
  Plaintiffs’ counsel emailed WTNY’s counsel on September 19, 2023, to see whether a Memorandum of Agreement
could be reached in order to move forward with the exams. See Ex. 24, pp. 1-2. WTNY’s counsel emailed Plaintiffs’
counsel on September 19, 2023, to note the parties’ impasse and need for Court determination of the scope and
conditions of the Rule 35 examinations. Id., p. 2.

Plaintiffs’ counsel responded by letter, attached to an email, dated September 20, 2023. Exs. 25 (email) and 26
(letter). In that letter, counsel insisted Plaintiffs’ Proposed Memorandum “captures our agreement completely[,]”
taking issue with WTNY’s earlier comment that Plaintiffs’ Proposed Memorandum was completely unacceptable.
While the Plaintiffs’ Proposed Memorandum does accurately capture a few points of agreement between the parties

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                                                  ARGUMENT

         I.        Generally, the Court Should Order the Examinations of Tracy
                   Caekaert and Camillia Mapley to Occur in the Manner Specified
                   by Dr. Bütz.

         In Copenhaver v. Cavagna Grp. S.p.a. Omeca Div., *7, 2021 WL 3171787

(D. Mont. 2021), Judge Cavan considered the scope of a Rule 35 Mental

Examination. He held, inter alia, the scope of the proposed neuropsychological

examination “will be the same as is typical for a neuropsychological examination”

and the Court would not “otherwise limit the scope of the examinations.”

         Judge Cavan’s Order is fully consistent with the general rule regarding scope,

which must be defined “at least in a general sense.” Winslow v. Montana Rail Link,

Inc., 2001 MT 269, ¶ 15, 307 Mont. 269, 38 P.3d 148. Relying on U.S. Supreme

Court precedent, the Court in Winslow held the proper scope of an examination is to

determine the “existence and extent” of the claimed injuries. Id. at ¶ 16 (citing

Schlagenhauf v. Holder, 379 U.S. 104, 85 S. Ct. 234 (1964)).




(i.e., that the test raw data will be provided to Dr. Bone alone, that Dr. Butz will provide a list of the tests given as
well as their duration, but without the need for timestamping any recording of the tests), the section listing the
disagreements between the parties does not fully and fairly characterize WTNY’s position. For example, it does not
explain why WTNY opposes the sharing of the test raw data with anyone but Plaintiffs’ expert Dr. Bone: Dr. Bone is
Plaintiffs’ only duly qualified expert to interpret the test raw data, and sharing it with Plaintiffs’ counsel, or Dr.
Holmberg, would be a violation of applicable ethics rules. Further and finally, of course, Plaintiffs’ position regarding
the sharing of test raw data, the location of the exam and associated travel costs, and their insistence that any disclosure
of attorney-client privileged information be automatically stricken are unacceptable to WTNY.



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      Here, and generally, the Court should order Dr. Bütz’s examinations to occur

pursuant to the manner, conditions, and scope set forth in his letters dated April 25,

2023, and May 26, 2023. See WTNY’s Proposed Memorandum, ¶ 5. The Court

should, likewise, require the Plaintiffs to execute Dr. Bütz’s Authorization Form and

A-V Recording Agreement. See Exs. 8-9. This requested relief is consistent with

the rules and rationale in Copenhaver and Winslow supra, which allow the expert

examiner to conduct his exam pursuant to his ordinary clinical practice.

      II.      The Court Should Order the Rule 35 Exams to Take Place in
               Person, and All Costs of Travel Should be Borne by Plaintiffs.

      Federal courts have routinely required a plaintiff to travel to the forum in

which s/he brought an action for purposes of Rule 35 physical and mental

examinations. See, e.g., McCloskey v. United Parcel Serv. Gen. Servs. Co., 171

F.R.D. 268, 270 (D. Or. 1997); Cannon v. Austal USA LLC, 2017 WL 11687286, at

*1 (S.D. Cal. 2017) (citing McCloskey); Ornelas v. Southern Tire Mart, LLC, 292

F.R.D. 388 (S.D. Tex. 2013); Levick v. Steiner Transocean Ltd., 228 F.R.D. 671,

672 (S.D. Fla. 2005). Further, the burden is not on the Defendant to establish that an

adequate examination cannot be had by other means, but rather the Plaintiffs have

the burden of establishing that travel to the examinations poses undue burden or

hardship. See Ornelas, 292 F.R.D. at 400 (internal citations omitted); see also

Halliday v. Spjute, 2015 WL 3988903, at *4 (E.D. Cal. 2015) (quoting Ornelas).



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       Here, Plaintiffs Tracey Caekaert and Camilia Mapley are located in Arkansas

and Australia, respectively, yet they chose Billings, Montana as their forum for this

action. WTNY found an expert, Dr. Bütz, in the forum chosen by Plaintiffs. WTNY

respectfully requests the Court order Plaintiffs to travel to the forum for their Rule

35 examinations, or else pay all reasonable costs associated with Dr. Bütz having to

travel to them, including (1) costs associated with the Dr. having to obtain the

required certifications in Australia and/or Arkansas; (2) all travel costs, as well as

the Dr.’s time-in-transit at his regular rate of pay. These are costs that would not be

incurred but for Plaintiffs’ desire to not travel to their chosen forum.

       Plaintiffs contend the examinations can be conducted remotely in order to

save costs. Ex. 2, p. 4. However, only in-person examinations of this type, as

explained by Dr. Bütz, provide the requisite degree of scientific certainty. See Ex. 7,

pp. 3, 6. Again, this Court’s decision in Copenhaver is instructive: examinations are

conducted in a way that is “the same as is typical” for a psychologist’s practice.

Copenhaver, 2021 WL 3171787, at *7 (D. Mont. 2021).

       WTNY respectfully requests the Court rule the exams shall be conducted in-

person, and any costs of travel for these exams—either to the forum Plaintiffs chose,

or for WTNY’s forum-located expert to travel to them—should be borne by the

Plaintiffs.




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      III.      The Court Should Order Plaintiffs’ Counsel and Unqualified
                Experts Are not Entitled to Dr. Bütz’s Test Raw Data because
                Applicable Ethics Guidelines and Regulations Forbid It.

      The American Psychological Association’s code of ethics prohibits the release

of raw psychological test data to “those who do not have the appropriate level of

training, supervision and experience to interpret it” in the intended scientific manner.

Ex. 11, p.3 (Dr. Bütz’s July 17, 2023, letter). Crucially, the Administrative Rules of

Montana also forbid sharing such data with unqualified individuals. See Mont.

Admin. R. 24.189.2305(9). Dr. Bütz recently co-authored a scholarly article

thoroughly addressing the ethical issues associated with the release of test raw data

to unqualified individuals. See Ex. 27.

      Plaintiffs’ position is unreasonable: they ask Dr. Bütz to commit professional

misconduct by agreeing to release test raw data to both Plaintiffs’ counsel, and

“Plaintiffs’ retained experts” with no qualification that those experts must have the

appropriate level of training, supervision, and experience to interpret said data. See

Ex. 2, pp. 4-5; Ex. 10, p. 2; see also Plaintiffs’ Draft Memorandum, ¶¶ 7-8.

      The Court should order the handling of this information in accordance with

Dr. Bütz’s longstanding policies, which are not only in compliance with the

aforementioned ethics rules, but also are supported by Kaufmann’s (2009) and

Morel’s (2009) guidance on those matters. See Ex. 11, pp. 5-6 (July 17, 2023 letter

from Dr. Bütz); see also WTNY’s Proposed Memorandum, ¶ 11. Plaintiffs’ request


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for test raw data to be released to their counsel and retained expert witnesses is not

a proper protocol and enjoys no known support in law or the practice of forensic

psychology. See Ex. 11, pp. 5-6. Dr. Bütz and WTNY have agreed to provide the

test raw data to Plaintiffs’ expert, Dr. Bone, precisely because Plaintiffs have

provided documentation establishing Dr. Bone as duly qualified to conduct

psychological assessments and interpret the test raw data at issue. See Ex. 16, p. 1.

However, they have not established their expert psychiatrist, Dr. Holmberg, is duly

qualified. See id.

      Plaintiffs also ask Dr. Bütz to provide a list of the tests conducted after they

are administered. See Ex. 10, p. 2. Dr. Bütz agrees to provide Plaintiffs’ counsel an

account of the testing administered to each Plaintiff, including, at a minimum, the

specific name and version of the test given, the time that each test started and

stopped, and the time and duration of breaks in testing. Further, he will list the tests

and describe his testing protocols in his IME reports, and he will be available for

deposition testimony regarding the same. Plaintiffs’ counsel will receive the

requested testing information in that fashion.

      IV.      The Court Should Reserve Judgment as to any Potential Waiver of
               Attorney-Client Privilege During the Rule 35 Exams until a
               Dispute Arises and Counsel Should Follow the Procedure Provided
               by the Federal Rules of Evidence.

      Plaintiffs’ counsel have proposed to automatically strike from the record any

and all attorney-client privileged information disclosed during the exams. See Ex. 2,

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p. 5; Ex. 10, p. 2. Alternatively, they have requested the presence—even if only

remotely—of counsel during the exams so counsel can intervene and coach Plaintiffs

to not disclose potentially privileged information. See Ex. 2, p. 5.

      This is a highly unusual request for which there is no apparent authority. It

runs contrary to the principle that the attorney-client privilege “is held by the client

and may be waived by voluntary disclosure.” Am. Zurich Ins. Co. v. Mont. Thirteenth

Jud. Dist., 2012 MT 61, ¶ 20, 364 Mont. 299, 280 P.3d 240 (citing Mont. R. Evid.

503; State v. Tadewaldt, 2010 MT 177, ¶ 17, 357 Mont. 208, 237 P.3d 1273).

      Further, Ninth Circuit courts expressly forbid the attendance at Rule 35 exams

of a plaintiff’s representatives, including a plaintiff’s counsel or physician, precisely

because the exam should be divested of any adversarial character. See, e.g.,

Copenhaver, 2021 WL 3171787, at *6 (D. Mont. 2021) (citing collection of cases);

see also McDaniel v. Toledo, Peoria and Western R. Co., 97 F.R.D. 525, 526 (C.D.

Ill. 1983). Plaintiffs’ only argument that counsel should be allowed at the exams—

or any disclosure of privileged information should be automatically stricken—is that

“Dr. Bütz is a retained representative of the Defendants in an adversarial

proceeding[.]” Ex. 10, p. 2; see also Ex. 2, p. 5. This specific argument has been

rejected by federal courts. See, e.g., Galieti v. State Farm Mut. Auto. Ins. Co., 154

F.R.D. 262, 265 (D. Colo. 1994).




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      In an effort to address Plaintiffs’ concern, WTNY and Dr. Bütz have proposed

that Dr. Bütz, during the subject mental examinations, will not ask any questions

intended to elicit responses from Plaintiffs concerning privileged communications

with their counsel, law firm staff, or consultants. See WTNY’s Proposed

Memorandum, ¶ 13. Additionally, WTNY proposes that, in the event of an

inadvertent disclosure of attorney-client privileged information within the meaning

of Rule 502(b), Fed. R. Evid., Plaintiffs’ counsel shall follow the procedure set forth

in subsection (3) of that Rule. In other words, the parties should be allowed to reserve

their right to argue for, or against, the waiver of attorney-client privileged

information: the Rules of Evidence and Procedure, along with governing case law,

provide the proper procedure for resolving such a dispute, should one arise.

      WTNY’s and Dr. Bütz’s proposal is consistent with the law of privilege and

common sense. Plaintiffs’ proposal seeks an unfair advantage by allowing

information to be stricken from the record if Plaintiffs fail to abide by their counsel’s

direction, or else choose to waive the privilege that is theirs to waive. Further,

Plaintiffs’ counsel’s proposal for an automatic striking of information disclosed

provides no mechanism for determining what constitutes a voluntary versus

inadvertent waiver. The mechanism that should be used, of course, is judicial

determination and application of the Federal Rules of Evidence and Procedure in the

event of a dispute.


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      In total, WTNY requests the Court order the mental examinations of Plaintiffs

Tracy Caekaert and Camilla Mapley in accordance with the time, place, manner,

conditions, and scope as argued herein.

                                        CONCLUSION

      For the reasons discussed above, WTNY requests the Court order the Rule 35,

Fed. R. Civ. P., mental examinations of Tracy Caekaert and Camilla Mapley as

stated herein.



                     DATED this 27th day of September, 2023.

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                         CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(d)(2)(E), the undersigned hereby certifies this brief

complies with L.R. 7.1(d)(2)(A). According to the word-processing unit used to

prepare this brief, the word count is 4,514 words excluding caption and certificates

of service and compliance.

      DATED this 27th day of September, 2023.

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                               CERTIFICATE OF SERVICE

      I hereby certify that, on September 27, 2023, a copy of the foregoing was

served on the following person(s):

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